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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


Robert S. Bennett, Nachael Foster,          §
Andrew Bayley and others similarly situated §
                                            §          CIVIL ACTION 4:21-cv-2829
Plaintiffs                                  §
                                            §
                                            §
vs.                                         §
                                            §
                                            §         CLASS ACTION COMPLAINT
State Bar of Texas aka the “Texas Bar”      §
(and culpable officials within it)

Defendants


           MOTION FOR A CONTINUANCE REGARDING
   THE NOVEMBER 5TH, 2021 PRETRIAL & SCHEDULING CONFERENCE


   1. Come now the Plaintiffs through legal counsel Rich Robins and represent as
       follows:
   2. There is an (apparently auto-generated) pretrial & scheduling conference
       scheduled in this case for Friday, November 5th, 2021.
   3. Plaintiffs’ counsel Robins requests that it be postponed, please and shows as
       follows.


                                             FACTS
   4. After months of cordial interaction with Texas’ Office of the Attorney General
       (OAG), it has recently become sufficiently apparent (and understandably so) that
       they are not particularly interested in accepting service of our lawsuit or in
       representing the Texas Bar in this case. Our lawsuit is, after all, pursued against
       the same Texas Bar regarding which the OAG filed a pair of (fabulous) amicus
       briefs in the McDonald v. Longley litigation which the Texas Bar ultimately lost

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     at the federal appellate level on July 2nd, 2021. See McDonald v. Longley, 4 F.4th
     229 (5th Cir. 2021). Our class action lawsuit is based, in part, on the OAG’s
     truly outstanding work.
5. Meanwhile at least 75% of Texas Bar workers are reportedly doing so remotely
     due to COVID 19. It is therefore not easy serving any of them.
6.   Compounding matters, Texas’ Secretary of State reportedly does not include the
     Texas Bar in its database. It is consequently not altogether clear whom we could
     serve so as to sufficiently bind an organization that clings so much to purported
     sovereign immunity. We continue researching the matter diligently but it is worth
     noting that the Texas Bar is not an ordinary government agency, either. Instead it
     is a public corporation and an administrative agency of the Texas judiciary.
     TEX. GOV’T CODE §81.011. Their website apparently does not say who may
     accept service of a lawsuit.
7. The McDonald v. Longley plaintiffs and their very impressive legal counsel
     apparently sued dozens of insiders of the Texas Bar. Subsequently they received
     authorization from the Defendants not to have to keep serving new and incoming
     board of directors members. We would prefer to serve a sufficient quantity of
     parties without serving more than necessary. If the Texas Bar Defendants might
     be interested in contacting Attorney Robins directly, this would of course be
     highly welcome as well as efficiency-maximizing. His contact data is located
     below and he sincerely prides himself on being as charming as is feasibly possible
     whenever dealing with honest, well-meaning people.
8. During the past two months, Attorney Robins has e-mailed different lawyers at
     the Texas Bar in search of relevant cooperation, but he has not received any
     response from them. Hopefully they have all survived the COVID 19 hazards
     though.
9. Encouragingly, the Texas Bar’s website has our class action prominently
     uploaded to it, and has for over two months. One can confirm this by searching
     for the word “Bennett” in its “Mandatory Dues” section which is linked from the
     front page of TexasBar.com.




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   https://www.texasbar.com/Content/NavigationMenu/McDonald_et_al_v_Longley
   _et_al1/default.htm

   Possession of a lawsuit apparently does not constitute sufficient service, though.
10. The federal court’s law library here in Houston is poised to reopen to the public
   sometime later this month after having been closed to the public for nearly 2
   years. Attorney Robins looks forward to resuming with seeking (always much-
   appreciated) enlightenment there.
11. Incidentally, we know we will modify the petition soon, in accordance with
   evolving facts and jurisprudence. It would seemingly be inconsiderate of us to
   serve a lawsuit on the Defendant(s) only to swiftly file another and make them
   have to read a subsequent one, too. We prefer to be more considerate than that.
12. Attorney Robins is certainly willing to attend this Friday’s pretrial & scheduling
   conference hearing but he wants to avoid ex parte communications so it seems
   best to reschedule it, please.



                          ARGUMENT & AUTHORITIES

13. Federal Rule of Civil Procedure 6(b) and other authorities allow the Court to
   extend deadlines for good cause. We submit that the abovementioned facts show
   that good cause exists.



                             CONCLUSION & PRAYER


14. Plaintiffs’ counsel Robins respectfully requests that this Friday’s pretrial &

   scheduling conference (set for November 5th, 2021) please be postponed. It

   seems ideal to reschedule it after the Defendants have been successfully served.




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DATED: November 3rd, 2021         Respectfully submitted,



                                  Rich Robins
                                  Robins Legal Services, LLC
                                  Federal registration #: 00789589
                                  Texas state bar #: 00789589
                                  2450 Louisiana St. #400-155
                                  Houston, TX 77006
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                                  www.TexasBarSunset.com




                            By:
                                         Rich Robins
                                      Attorney-In-Charge




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                        SOUTHERN DISTRICT OF TEXAS
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Andrew Bayley and others similarly situated §
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vs.                                         §
                                            §
                                            §     CLASS ACTION COMPLAINT
State Bar of Texas aka the “Texas Bar”      §
(and culpable officials within it)

Defendants




                                        ORDER


       The status conference scheduled for November 5 th, 2021 has been postponed. A
new scheduling date will emerge after the Defendants are successfully served.




Signed on ________ at Houston, Texas.            _______________________
                                                 Honorable Alfred H. Bennett
                                                 United States District Judge




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                         CERTIFICATE OF CONFERENCE
   I, Rich Robins, do hereby certify that (as far as I know) there is not yet an opposing
counsel designated for the Defendants. This certificate of conference is therefore
admittedly lacking in substance.


Defendant(s):
State Bar of Texas aka the “Texas Bar”
Texas Law Center
1414 Colorado Street
Austin, Texas 78701




                                             By:
                                                        Rich Robins
                                                     Attorney In Charge




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                            CERTIFICATE OF SERVICE
    I, Rich Robins, do hereby, certify that by November 9 th, 2021, we aspire to send a
true and correct copy of the above and foregoing motion for a continuance to the
Defendant State Bar of Texas aka the “Texas Bar” at:


State Bar of Texas aka the “Texas Bar”
Texas Law Center
1414 Colorado Street
Austin, Texas 78701




                                             By:
                                                        Rich Robins
                                                     Attorney In Charge




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